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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re;                                                                Chapter 11

Zohar III, Corp., et al.^                                             Case No. 18-10512 (CSS)

                                    Debtors.                          Jointly Administered

                                                                      Ref. Docket No. 356, 365


    PATRIARCH’S OBJECTION TO THE DEBTORS’ MOTION FOR ENTRY OF AN
           ORDER AUTHORIZING THE USE OF CASH COLLATERAL

         Patriarch Partners XV, LLC, Octaluna, LLC, Octaluna II, LLC, and Octaluna III, LLC

(collectively, the “Patriarch Secured Parties”!. Patriarch Partners, LLC, Patriarch Partners VIII,

LLC, and Patriarch Partners XIV, LLC (together with the Patriarch Secured Parties, “Patriarch”),

by and through their counsel, hereby submit this objection (the “Objection”) to the Debtors ’

Motion for Entry of an Order Authorizing the Use of Cash Collateral [D.I. 356] (the “Motion”)’

and the proposed Order Under 11 U.S.C. §§ 105, 361, 362, 363 and 507, and Bankruptcy Rules

2002, 4001 and 9014 (I) Authorizing Debtors to Use Cash Collateral; (II) Granting Adequate

Protection to Prepetition Secured Parties; (III) Providing Superpriority Administrative Expense

Status; (IV) Modifying Automatic Stay; and (V) Granting Related Relief (the “Proposed Order”).^

In support of this Objection, Patriarch respectfully represents the following:


  ' The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows:
    Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited
    (9261) (“Zoharin”), Zohar II 2005-1, Limited (8297) (“Zohar II”). and Zohar CDO 2003-1, Limited (5119)
    (“Zohar I”, and together with Zohar II and Zohar III, the “Zohar Funds”). The Debtors’ address is 3 Times
    Square, c/o FTI Consulting, Inc., New York, NY 10036.
 ■ Capitalized terms not otherwise defined herein shall have the meanings set forth in the Motion or Settlement
   Agreement, as applicable.
 ^ The Debtors filed a proposed form of cash collateral order [D.I. 365] on July 12, 2018. Since that date, the
   Debtors provided Patriarch with a modified form of order, and have advised that such order should be treated as
   the Proposed Order until advised otherwise. As a result. Patriarch files this Objection to the last Proposed Order
                                                                                           (Cont’d on next page)


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                                     PRET JMTNARY STATEMENT

         1.       On May 21, 2018, this Court entered an order [D.l. 266] (the “Settlement Order”)

approving the Settlement Agreement among the Debtors, MBIA, the Zohar 111 Controlling Class,

and the Patriarch Stakeholders. The Settlement Agreement constituted a significant milestone in

these Chapter 11 cases, and for fifteen months (with one three-month extension, as applicable)

put an end to any and all litigation among the key stakeholders in these cases, while preserving

all of their respective rights in the event the monetization events and debt payments described in

the Settlement Agreement do not timely come to pass. The Settlement Agreement is premised

on the foregoing cardinal principles of “laying down of arms” and “preservation of all rights and

claims.” Through the Proposed Order, MBIA and the Zohar III Controlling Class (collectively,

the “MBIA/ZIII Creditors”, and together with U.S. Bank, the “Other Stakeholder Creditors”)

have attempted to renegotiate essential terms of the Settlement Agreement by imposing on the

Debtors terms and conditions for use of cash collateral that vitiate these cardinal principles and

other essential elements of the Settlement Agreement, as well as a prior order of this Court

holding in abeyance the allocation of the Independent Directors’ fees. For example:

         •    Under the Proposed Order, the Debtors purport to stipulate that the Other Stakeholder
              Creditors’ claims and liens are allowed, valid, and enforceable, without challenge.
              See Proposed Order, T[ 4. These stipulations purport to be binding on all parties in
              interest (including Patriarch) upon entry of the Proposed Order, and the Debtors
              retain only a narrow right to challenge the validity and perfection of the Other
              Stakeholder Creditors’ liens. Id. at ]] 27. By cutting off the Debtors’ and other party
              in interests’ right to challenge the Other Stakeholder Creditors’ claims and liens, or
              asserting certain actions related thereto, the Proposed Order violates the stay
              contemplated under the Settlement Agreement, which stay was to include
              “appropriate protections so there is no prejudice to any party . . . .” Settlement
              Agreement, 115.

(Cont’dfrom previous page)
    provided by the Debtors, but reserves the right to further supplement or modify this Objection to the extent the
    Proposed Order is further revised prior to the hearing on November 13.




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         •    The Proposed Order’s waiver of challenge rights against the Other Stakeholder
              Creditors’ claim contains an undisclosed $148 million windfall to MBIA that violates
              the Settlement Agreement. MBIA credit bid that amount in a pre-petition foreclosure
              with respect to Zohar I. Instead of reducing its claim by $148 million, MBIA has
              added that amount to its “Paid in Full” amount under the Settlement Agreement. By
              forcing the Debtors to stipulate to any waiver of claims against MBIA—except for
              perfection and validity of liens—MBIA seeks this Court’s approval of this
              undisclosed double-counting and the denial of a later challenge by Patriarch.

         •    The Proposed Order materially impairs the Debtors’ and Patriarch’s ability to satisfy
              certain milestones under the Settlement Agreement. Under the Settlement
              Agreement, if the MBIA/ZIII Creditors are paid 50% of the Paid in Full amounts (as
              set forth in the Settlement Agreement) by August 21, 2019, then the stay under the
              Settlement Agreement shall be extended an additional three months so that remaining
              Portfolio Companies can be monetized to pay off the MBIA/ZIII Creditors in full.
              Settlement Agreement, ^ 29. However, the Proposed Order modifies the flow of
              funds under the Indentures, such that the Debtors will reserve potentially tens of
              millions of dollars primarily for Debtor and creditor professional fees (excluding
              Patriarch) before making payments to the MBIA/ZIII Creditors, thereby delaying
              satisfaction of the Paid in Full amounts. See Proposed Order, ^ 9.

         •    The Proposed Order substantially expands the MBA/ZIII Creditors’ access to
              confidential information beyond the narrow information rights that were negotiated
              under the Settlement Agreement. Id. at H 12(d). The Proposed Order should not be
              used to modify the terms of the Settlement Agreement with respect to the MBIA/ZIII
              Creditors’ limited right to access confidential information regarding the Portfolio
              Companies.

These terms and conditions alone suffice as a basis for this Court to deny the Motion.

         2.       The Proposed Order must be denied for another independent reason. In a gross

abuse of leverage, the MBIA/ZIII Creditors have forced the Debtors to exclude from the

protections of the Proposed Order the more than $822 million in secured claims held by the

Patriarch Secured Parties against the Debtors (the “Patriarch Secured Claims”). The Patriarch

Secured Claims share the same collateral and liens under the Indentures pledged to secure the

claims of the MBIA/ZIII Creditors, subject only to certain waterfall-payment subordination

provisions contained in the Indentures. As a result, the Patriarch Secured Parties are entitled to

at least the same adequate protection bargained for by the Senior Secured Creditors (to the extent



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such protection remains consistent with the Settlement Agreement). By this omission, the

Debtors carmot satisfy their burden to prove that the Patriarch Secured Parties, which are secured

creditors with an interest in the Debtors’ cash collateral, are adequately protected. In fact,

undisputed evidence admitted in prepetition litigation, |||||||||||||||||||||||^

                                    I, demonstrates that the Patriarch Secured Claims are or should be

“in the money,” and therefore entitled to adequate protection. Accordingly, if this Court

determines that the Other Stakeholders are entitled to additional adequate protection, any cash

collateral order must provide the Patriarch Secured Parties with adequate protection on par with

what is provided to the Other Stakeholder Creditors, such as (a) payment of postpetition

attorneys’ fees and interest, (b) rights to review and comment on the Budget, (c) adequate

protection claims and liens, and (d) other advisory rights that are routine for secured creditors in

this district. In fact, the Proposed Order and Initial Budget (as defined below) contemplates the

payment as adequate protection to the Other Stakeholder Creditors of almost $10 million in

professional fees incurred both pre-petition and post-petition by the Other Stakeholder Creditors

through only September 2018, without any corresponding professional fee payment as adequate

protection to or the right to review and comment on the reasonableness of those fees by the

Patriarch Secured Parties. For these reasons and as set forth in more detail below, the Motion

and the Proposed Order must be denied.

         3.       Finally, this Court should deny the Proposed Order because it impermissibly

seeks to provide the MBIA/ZIII Creditors with full waivers of the estate’s right to surcharge their

collateral under Bankruptcy Code section 506(c) and of any party’s right to assert the “equities

of the case” doctrine under Bankruptcy Code section 552(b). In doing so, the MBIA/ZIII

Creditors attempt to unwind this Court’s prior ruling to preserve the parties’ disputes as to




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whether the Independent Direetor’s “Incentive Fee” should be alloeated to the MBIA/ZIII

Creditors’ Paid in Full amount. As a eondition to Patriareh agreeing to the Independent Director

having the right to payment of an Incentive Fee, all parties agreed on the record that any dispute

as to the allocation of such fee should be preserved. The MBIA/ZIII Creditors now appear to be

trying to unwind that agreement by seeking full waivers under sections 506(c) and 552(b). The

Debtors’ estates are incurring substantial additional fees and costs as a result of the MBIA/ZIII

Creditors’ demands under the Settlement Agreement (including, for example, new agent fees,

costs of a new committee, and the costs of the CRO and CMO). Any cash collateral order

approved by this Court should preserve any dispute as to the allocation of such fees and costs.

        4.      In short, while Patriarch does not object to a cash collateral order to fund the

reasonable fees and expenses of these Chapter 11 cases. Patriarch respectfully requests that the

Court deny the Motion and the Proposed Order. The Proposed Order currently before the Court

violates the Settlement Agreement, provides a hidden material windfall to MBIA that was not

disclosed to this Court, ignores the Patriarch Secured Parties’ rights to adequate protection, and

grants the Other Stakeholder Creditors rights that are unwarranted under the facts of these

Chapter 11 cases. To aid the Court’s review of these issues. Patriarch has attached hereto as

Exhibit A a redline reflecting proposed changes to the Proposed Order, and as Exhibit B a

detailed list of issues with the Proposed Order. Patriarch’s proposed form of order preserves all

parties’ rights, adheres to the terms of the Settlement Agreement, and should be approved over

the Proposed Order.




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                                BACKGROUND INFORMATION

         A.       The Patriarch Secured Parties Are Substantial Secured Creditors in These
                  Chapter 11 Cases.

         5.       The Zohar Funds are innovative collateralized loan obligation funds, whose assets

are primarily loans to distressed companies (the “Portfolio Companies”'). The Zohar Funds

raised capital by issuing notes (collectively, the “Notes”! to noteholders who were, in exchange,

entitled to interest payments over time, plus return of their principal at the maturity date. The

Notes are secured, and were issued in two classes—Class A (with each Class A tranche having

subclasses of notes) and Class B.

         6.       A summary of the Zohar Funds’ Note issuances and outstanding debt is as

follows:

Zohar I Note Class        Principal Amount    Issued      Maturity      Approximate Outstanding
Class A-1                 $150 million        2003        11/20/15      $0.00
Class A-2                 $32 million         2003        11/20/15      $0.00
Class A-3a                $297.5 million      2003        11/20/15      $234 million
Class A-3b                $52.5 million       2003        11/20/15      $52.5 million
  Total Class A           $532 million                                  Total: $286.5 million
Class B                   $150 million        2003        11/20/15      $150 million


Zohar II Note Class       Principal Amount    Issued      Maturity      Approximate Outstanding
Class A-1                 $250 million        2005        1/20/17       $190 million
Class A-2                 $550 million        2005        1/20/17       $418 million
Class A-3                 $200 million        2005        1/20/17       $152 million
  Total Class A           $1 billion                                    Total: $760 million
Class B                   $200 million        2005        1/20/20       $200 million


Zohar III Note Class      Principal Amount    Issued      Maturity      Approximate Outstanding
Class A-IR                $200 million        2007        4/15/19       $136 million
Class A-IT                $150 million        2007        4/15/19       $102 million
Class A-ID                $350 million        2007        4/15/19       $237.5 million
Class A-2                 $200 million        2007        4/15/19       $200 million
Class A-3                 $116 million        2005        4/15/19       $116 million
  Total Class A           $1,016 billion                                Total: $791 million
Class B                   $186 million        2005        4/15/19       $186 million


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         7.       The Patriarch Secured Parties hold, in the aggregate, over $822 million of the

secured Notes issued by the Debtors. Specifically: (a) Patriarch Partners XV, LLC holds

$286,445,355 in principal amount owing under the Class A-3 Notes issued by Zohar I;

(b) Octaluna, LLC holds $150,000,000 in principal amount owing under the Class B Notes

issued by Zohar I; (c) Octaluna II, LLC holds $200,000,000 in principal amount owing under the

Class B Notes issued by Zohar II; and (d) Octaluna III, LLC holds $186,000,000 in principal

amount owing under the Class B Notes issued by Zohar III.4 Certain Patriarch entities further

hold the Zohar Funds’ preference shares, and as a result are the ultimate owners of the Zohar

Funds.

         8.       The liens securing the Class A Notes (and MBIA’s Credit Enhancement

Liabilities (as defined below)) and the Class B Notes encumber the same collateral,5 and have

equal priority. The Indentures make this expressly clear in their “Granting Clauses,” pursuant to

which the Trustee under the Indentures was granted liens in the Debtors’ assets for the benefit of

all noteholders, including the Patriarch Secured Parties:

                  Such Grants [of security interests and liens “to the Trustee, for the benefit
                  and security of the Secured Parties”] by the Issuer and the Zohar
                  Subsidiary are made . . . to the Trustee to hold in trust, to secure . . . the
                  Notes equally and ratably without prejudice, priority, or distinction
                  between any Note and any other Note by reason of difference in time of
                  issuance or otherwise, except as expressly provided in this Indenture . . . .




 4
     Copies of the Patriarch Secured Parties notes, or evidence of their issuance, are attached to the Schiff
     Declaration as Exhibits 4–10. Copies of the Indentures for Zohar I through III are attached to the Schiff
     Declaration as Exhibits 1–3.
 5
     The Indentures for the Zohar Funds include “Granting Clauses,” pursuant to which the Debtors granted to the
     Trustee, “for the benefit and security of the Secured Parties,” liens on all of the Debtors’ property. Indenture,
     p. 1. The “Secured Parties” include holders of Class A Notes and Class B Notes.



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Indentures, pp. 1-2 (emphasis added). The Class B Notes, however, are subordinate only in right

of payment under the Indentures’ waterfalls to the Class A Notes and MBIA’s Credit

Enhancement Liabilities. Id. at^nf 13.1(a), (c).

         9.       MBIA, as credit enhancer, “wrapped” the Class A-1 and Class A-2 Notes issued

by Zohar I and all Class A Notes issued by Zohar II. As such, if Zohar I and Zohar II could not

meet their respective repayment obligations under the wrapped Class A Notes, MBIA was

obligated to pay any principal and interest owing to the holder of such Notes, after which MBIA

would be subrogated to the rights of the applicable Class A noteholders, with MBIA’s right to

payment from the Debtors defined in the Indentures as the “Credit Enhancement Liabilities.”

Defaults under the Indentures for Zohar I and Zohar II occurred in November 2015 and January

2017, respectively, resulting in MBIA paying and becoming subrogated to the Class A-1 and A-2

Notes at Zohar I and the Class A Notes at Zohar II. MBIA’s payment of these Class A Notes

pursuant to the Indentures did not modify the Patriarch Secured Parties’ rights as the holders of

Class A-3 Notes (at Zohar I) or Class B Notes.

         10.      In June 2016, MBIA directed U.S. Bank to auction the collateral securing the

Zohar I Notes. The sales notice defined the “collateral” being auctioned as including Zohar Es

interests in loans to the Portfolio Companies, as well as the equity in the Portfolio Companies.

The Portfolio Company equity, however, is not collateral, and many of the organizational

documents for the Portfolio Companies have strict transfer restrictions. Certain of the Patriarch

Entities commenced an action to enjoin MBIA’s foreclosure sale. Although the foreclosure was

initially enjoined through a temporary restraining order, MBIA was ultimately permitted to

complete its foreclosure sale (albeit on terms different than originally contemplated) and credit

bid a secured claim of over $148 million for Zohar I’s interests in the loans to the Portfolio




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Companies. As a result, MBIA has no further claim against Zohar Ifor the amount of

MBIA’s credit bid. See, e.g.,In re GSC, Inc., 453 B.R. 132, 176 (Bankr. S.D.N.Y. 2011)

(holding that, “by virtue of the credit bid, the claims are extinguished”). Since May 2017, as a

result of its foreclosure and credit bid, MBIA has been receiving all principal and interest

payments associated with the Zohar I loans obtained through its foreclosure. At most, MBIA’s

remaining claim against Zohar I is limited to fees and expenses, which as of the foreclosure were

approximately $10 million, as reflected in correspondence from U.S. Bank to Patriarch’s

counsel.*^ MBIA has asserted that despite its eredit bid and the controlling case law cited above,

MBIA still can assert a secured claim against Zohar I that includes the amount of its credit bid.’

The Proposed Order vitiates any right to challenge MBIA’s assertion of a right to recover again

on the debt it has already credit bid. Importantly, MBIA kept hidden this bald double-counting

windfall, and instead hoped to get this Court to bless this windfall through the Proposed Order

without adequate disclosure.

         B.       The Settlement Agreement

         11.      On May 21, 2018, the Court entered the Settlement Order pursuant to which this

Court approved the Settlement Agreement. The Settlement Agreement was the product of at

least five full days of mediation between the Debtors, Patriarch, MBIA, and the Zohar III

Controlling Class, and was a remarkable achievement in these Chapter 11 cases. Among other



    See February 3, 2017 Letter from B. Jaffe to R. Mastro, attached to the Neumeister Declaration as Exhibit 1:
    “As you may be aware, the credit portion of MBIA’s bid in the Auction included $148,951,585 of its Credit
    Enhancement Liabilities. However,... MBIA’s total Credit Enhancement Liabilities are in the amount of
    $158,579,356.”
 ’ Patriarch does not seek to litigate MBIA’s allowed claim through this Objection, but raises this issue as grounds
   for why the stipulations and limitation on challenge rights in the Proposed Order cannot be gi-anted. Further, in
   the event MBIA is determined to have a remaining allowed claim for the amount of its credit bid. Patriarch
   reserves all rights as to the legal effect of such finding, including on the purported validity of MBIA’s
   foreclosure.




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things, the Settlement Agreement has stayed and tolled the substantial and expensive post­

petition motion praetice and litigation among the Debtors, Patriareh, and the Other Stakeholder

Creditors, which resulted in the incurrence of several millions of dollars of legal fees in little

more than a month. The Settlement Agreement also stayed at least fifteen pre-petition litigations

that chilled all efforts to monetize the Portfolio Companies.

         12.      The Settlement Agreement unambiguously stayed all claims and litigation by and

among the Debtors, Patriarch, and the MBIA/ZIII Creditors:

                  For the avoidance of doubt, with respect to any of the entities identified in
                  paragraph 15 [(including “any Other Stakeholders,” the Debtors, or the
                  Patriarch Stakeholders)] ... (a) any litigation, claim, motion, or contested
                  matter that was or could have been brought prior to the date hereof, and
                  (b) any litigation, claim, motion, or contested matter that could be brought
                  after the date hereof arising from any facts, acts, or omissions that first
                  arose prior to the date hereof, shall be stayed during the 15-Month
                  Window, with appropriate protections so there is no prejudice to any
                  party....

Settlement Agreement, H 15 (emphasis added). The parties negotiated for this provision as a

cardinal principle of the Settlement Agreement, as it forces parties to focus on the monetization

process and maximizing value, with all parties reserving their rights to later litigate any disputes

that pre-dated the Settlement Agreement to the extent the Full Payment Date does not occur.

Continued litigation among the parties would not only harm the monetization process that is

underway; it would also re-open prepetition litigation that had resulted in tens of millions of

dollars in legal fees among all parties over the course of several years.

         13.      Perhaps most importantly, the Settlement Agreement set the framework by which

these Chapter 11 cases can proceed forward. Ms. Tilton caused the Debtors to commence these

Chapter 11 cases so that the Portfolio Companies could complete a stmctured monetization

process that will enable the Debtors to pay the MBIA/ZIII Creditors in full, with any excess



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proceeds to satisfy Patriarch’s Class B Notes and preferenee shares. The Settlement Agreement

provides for a eontinuation of that monetization process to be earried out jointly among Ms.

Tilton and the Debtors’ newly retained Independent Director and Chief Restructuring Officer

(the “CRO”).

         C.       This Court Has Preserved Disputes as To the Allocation of Certain Fees
                  Under the Independent Director Services Aereement. and Other Expenses
                  Under the Settlement Agreement Should be Similarly Preserved.

         14.      In negotiating the Settlement Agreement, the MBIA/ZIII Creditors demanded a

number of proteetions that have resulted, or will result, in millions of dollars of additional cost

and expense to the Debtors. Among these additional costs are (i) the Independent Director’s

“Incentive Fee” under the Independent Director Service Agreement approved by this Court [D.I.

345-1], (ii) the need to provide indemnifieation obligations to the Independent Director and the

new CRO, and (iii) fees and costs of the “New Agenf ’ (as defined under the Settlement

Agreement) or the replacement collateral manager. In addition, the Debtors and Patriarch agreed

to the formation of a non-statutory “Committee” to represent the interests of the MBIA/ZIII

Creditors, with the Committee’s fees and expenses borne by the Debtors’ estates. In short, the

MBIA/ZIII Creditors’ demands under the Settlement Agreement will eost the Debtors’ estates

millions of dollars for the MBIA/ZIII Creditors’ exelusive benefit.

         15.      The Settlement Agreement does not specify whether the above-refereneed fees

and expenses, negotiated by and for the benefit of the MBIA/ZIII Creditors, should reduce their

allowed claim or should be borne by the Debtors’ other stakeholders. This issue need not and

should not be resolved now, however.

         16.      Consistent with this approach, in connection with the Court’s approval of the

Independent Direetor’s services agreement, the parties agreed to reserve all issues with respect to



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the allocation of the Independent Director Incentive Fee. This agreement was memorialized

under the Court’s Order Approving Independent Director Set'vice Agreement and

Indemnification Agreement [D.I. 345] (the “Independent Director Approval Order”), which

provides:

                  Nothing in the Agreements or this Order is intended to impact, impair or
                  prejudice the rights of any party in these Bankruptcy Cases with respect to
                  allocation of the costs of the Incentive Fee, and all such rights are
                  expressly preserved.

Independent Director Approval Order, Tf 5.

         17.      Further, on June 20, 2018, at the hearing on the Debtors’ request for entry of the

Independent Director Approval Order, the parties and this Court discussed the timing for

determining how the Independent Director’s Incentive Fee should be allocated. At a minimum,

all parties agreed that the issue would first be brought to Judge Gross, as mediator, before being

resolved by this Court. See Hr’g Tr. 6/20/18, p. 23:16-19 (counsel for MBIA Insurance

Corporation) (“[T]o the extent there is an issue here the settlement agreement provides

mechanisms by which, as your Honor ^aiA,parties can negotiate; there’s Judge Gross.”)

(emphasis added); p. 24:14-16 (counsel for the Debtors) (“So, I think for purposes of today it’s

an issue for another day and it’s going to go through Judge Gross before it gets to you, I

think.”) (emphasis added); p. 29:4-6 (the Court) (“On the escrow/allocation dispute I’m okay

with the simpl[e] reservation of rights. There is a mechanism for working this out. It’s through

the settlement itself”).* As explained below, the Other Stakeholder Creditors are now seeking to

unwind this reservation through the Proposed Order. Further, the allocation of any




    A copy of the transcript from the June 20, 2018 hearing is attached to the Neumeister Declaration as Exhibit 2.



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indemnification obligations to the Independent Director and the new CRO, and fees and costs of

the New Agent and any replacement collateral manager must similarly be preserved.

        D.      The Debtors and the Other Stakeholder Creditors Have Excluded Patriarch
                From the Cash Collateral Order and Its Related Negotiations.

        18.     The Settlement Agreement was approved on May 21, 2018, and expressly

provides that “[t]he Debtors shall promptly negotiate with the secured parties ifunding of the

Debtors’ Chapter 11 cases from the use of the secured parties’ cash collateral.” Settlement

Agreement, T| 17 (emphasis added). The Debtors did not engage in discussions with the Patriarch

Secured Parties regarding the use of cash collateral, notwithstanding the Patriarch Secured

Parties’ substantial secured claims against the Debtors’ estates and requests to be included in

negotiations. Rather, the Debtors negotiated exclusively with the Other Stakeholder Creditors.

        19.     On July 6, 2018, the Debtors filed the Motion seeking authority to use cash

collateral, but did not attach a proposed order or budget. D.I. 356. On July 12, 2018, only six

days before the originally noticed objection deadline, the Debtors filed a proposed form of cash

collateral order and an initial proposed budget [D.I. 365] (the “Initial Budget”). After the filing

of this proposed order. Patriarch’s counsel discussed their preliminary list of issues with the

Debtors’ counsel, including that the proposed form of order violated the Settlement Agreement

in several material respects. Notwithstanding Patriarch’s concerns, the Debtors and the Other

Stakeholder Creditors continued to negotiate revisions to the cash collateral order without

including or conferring with Patriarch. On July 24, 2018, the Debtors circulated the Proposed

Order, which had “been signed off on by the U.S. Trustee, U.S. Bank, MBIA, the Zohar III

Controlling Class and the Debtors,” but again excluded the Patriarch Secured Parties, who had

no input on its terms.




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         20.      After receipt of the Proposed Order, Patriarch’s counsel reiterated to the Debtors’

counsel that the proposed form of order could not be approved without violating the Settlement

Agreement, and impermissibly excluded the Patriarch Secured Parties as substantial secured

creditors in these Chapter 11 cases. As required under the Settlement Agreement, the parties

engaged in mediation with Judge Gross over the Proposed Order. Mediation was unsuccessful.

While Patriarch had hoped to narrow the issues before this Court, the parties are now left to

litigate a Proposed Order that is flawed in numerous fundamental ways, and cannot be approved

without violating the Settlement Agreement, this Court’s prior orders, and Bankruptcy Code

sections 361 and 363(c)(2).

                                             OBJECTION

         A.       The Proposed Order Violates the Settlement Agreement.

         21.     The Proposed Order wholly undermines material bargained-for provisions of the

Settlement Agreement. Entry into the cash collateral order was expressly contemplated under

the Settlement Agreement, and parties may not use the cash collateral order to forcibly alter

parties’ rights under the Settlement Agreement. See, e.g., Engelhard Corp. v. N.L.R.B., 437 F.3d

374, 381 (3d Cir. 2006) (recognizing the “well established principle[] of contract construction . .

. to read, if possible, all provisions of a contract together as a harmonious whole”). This Court’s

approval of the Settlement Agreement was a milestone event in these Chapter 11 cases, and the

Court should not approve a Proposed Order that contradicts and undermines critical terms of that

agreement.

                  1.     Any Cash Collateral Order Must Preserve All Parties’ Claims and Causes
                         of Action.

         22.      Through the Proposed Order, the Other Stakeholder Creditors attempt to wholly

disenfranchise all parties-in-interest, including Patriarch, from reviewing and challenging the


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amount or validity of the Other Stakeholder Creditors’ claims and liens, or to assert certain

causes of action against them. See Proposed Order,          27. Specifically, the Proposed Order

stipulates to, among other things, (i) the allowance of the Other Stakeholder Creditors’ claims

against the Debtors, including attorneys’ fees, (ii) the validity and priority of the Other

Stakeholder Creditors’ liens on “all property and assets of any type or nature owned by the

Debtors,” and (iii) the Other Stakeholder Creditors’ claims not being “subject to objection,

defense, contest, avoidance, recharacterization, reduction, subordination, or any attack of

whatever nature by the Debtors or any person or entity . . . .” Id. at      4(a)-(c). The Proposed

Order further provides that the Independent Director shall have thirty (30) days from the entry of

the Proposed Order to challenge the stipulations in paragraphs 4 and 5 of the Proposed Order,

after which such stipulation shall be binding upon the Debtors. The stipulations in paragraphs 4

and 5 of the Proposed Order are “binding upon all other parties in interesf ’ upon entry of the

Proposed Order. Id. at ^ 27.

         23.      The proposed challenge rights under the Proposed Order violate the Settlement

Agreement. As noted above, under paragraph 15 of the Settlement Agreement, all of the claims

or causes of action that could be asserted in a challenge to the Secured Creditors’ claims or liens

were stayed during the 15 Month Window. Specifically, the Settlement Agreement provides:

                  For the avoidance of doubt, with respect to any of the entities identified in
                  paragraph 15 [including the Debtors, the Patriarch Stakeholders, and the
                  Other Stakeholders]: (1) (a) any litigation, claim, motion, or contested
                  matter that was or could have been brought prior to the date hereof, and
                  (b) any litigation, claim, motion, or contested matter that could be brought
                  after the date hereof arising from any facts, acts, or omissions that first
                  arose prior to the date hereof, shall be stayed during the 15-Month
                  Window, with appropriate protections so there is no prejudice to any
                  party ....

Settlement Agreement, Tf 15 (emphasis added).



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         24.      This stay was a specific, bargained-for provision of the Settlement Agreement, as

it enabled the Debtors, Patriarch, and the Portfolio Companies to focus on the monetization

process, rather than litigation. The Proposed Order impermissibly undermines this provision of

the Settlement Agreement.

         25.      First, the Proposed Order forces the Independent Director prematurely to

investigate challenges to the Other Stakeholder Creditors’ liens and potentially re-open litigation

that should otherwise be stayed. Rampant pre-petition litigation among the stakeholders directly

contributed to the commencement of these Chapter 11 cases, as the cloud of litigation and

accusations among the Debtors and their stakeholders materially impaired any attempts to market

and monetize the Portfolio Companies. The post-petition monetization process for the Portfolio

Companies is well underway, and Patriarch is confident that it will yield returns sufficient to

satisfy the MBIA/ZIII Creditors’ allowed claims in full. However, litigation over the validity or

scope of the Other Stakeholder Creditors’ liens will again cloud the monetization process and

chill bidders from coming forward with value maximizing offers. Litigation over this issue was

expressly stayed, and the cash collateral order contemplated under the Settlement Agreement

must preserve the stay of such litigation.

         26.      Second, the Proposed Order’s stipulations and limitations on challenge rights

effectively shields the Other Stakeholder Creditors from any claims, causes of action, or

objections to the Other Stakeholder Creditors’ claims that may be asserted by Patriarch or the

Debtors. This contradicts the full preservation of rights and lack of prejudice to future claims

provided under the Settlement Agreement. As noted above, the Settlement Agreement provides

for a stay of “any litigation, claim, motion, or contested matter” with “appropriate protections so

there is no prejudice to any party.” Settlement Agreement, ^ 15.



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         27.      The fundamental flaws in the stipulations and challenge rights under the Proposed

Order are best evidenced by the $148 million windfall the order would bestow upon MBIA if

approved. In 2016, MBIA was permitted to complete a foreclosure sale and credit bid a secured

claim of over $148 million for Zohar I’s interests in the loans to the Portfolio Companies. As a

result of such foreclosure, MBIA has been receiving all payments of interest and principal on the

credit agreements that were between Zohar I and the Portfolio Companies. As a result of that

foreclosure, MBIA has no further claim against Zohar I for the amount of MBIA’s

approximately $148 million MBIA’s credit bid. See, e.g., In re GSC, Inc., 453 B.R. at 176

(holding that, “by virtue of the credit bid, the claims are extinguished”); see also Fire Eagle,

LLC V. Spillman Inv. Grp., Ltd., 2011 WL 13234814, at *9 (W.D. Tex. Sept. 29, 2011) (“By

purchasing by credit bid the collateral underlying the Senior Indebtedness, the debt owed was

extinguished.”); In re Ocean Blue Leasehold Prop. LLC, 414 B.R. 798, 807 (Bankr. S.D. Fla.

2009) (“Legg Mason’s claim was extinguished when it credit bid the full value of its claim.”).

Instead of reducing its claim by $148 million, MBIA has added that amount to its “Paid in Full”

amount under the Settlement Agreement, and under the Proposed Order that amount would be

stipulated to as an allowed claim, with no right for any party-in-interest to later assert a

challenge.

         28.      Following the Full Payment Date (as defined in the Settlement Agreement), the

Independent Director and CRO will be replaced by Ms. Tilton as director, and her rights to direct

claims or objections to claims on behalf of the Debtors against the parties to the Settlement

Agreement cannot be abrogated by the cash collateral order. However, the Proposed Order

prejudices, and in fact vitiates. Patriarch’s rights under the Settlement Agreement, and

effectively grants MBIA a $148 million windfall.



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                  2.     The Cash Collateral Order Undermines the Debtors’ and Patriarch’s
                         Respective Ability to Satisfy the Milestones Under the Settlement
                         Agreement.

         29.      Under the Settlement Agreement, the Debtors and the Portfolio Companies have

through the completion of the 15 Month Window—August 21, 2019—to satisfy the Paid in Full

amounts for the MBIA/ZIII Creditors. If the Paid in Full amount is not satisfied by the

expiration of the 15 Month Window, (a) the stay of litigation described above shall terminate,

(b) Ms. Tilton shall not resume her role as sole director of the Zohar Funds, and (c) the CRO and

Ms. Tilton “shall negotiate in good faith on how to monetize the Group B Portfolio Companies.”

See Settlement Agreement,        1, 3, 15. The 15 Month Window shall be extended for all

purposes by an additional three (3) months (the “18 Month Extended Window”! if the

MBIA/ZIII Creditors receive 50% of the Paid in Full amount under the Settlement Agreement

within the 15 Month Window. As a result, the timing and ability to make payments to the Other

Stakeholder Creditors pursuant to the waterfall in the Indentures is critical to the structure of the

Settlement Agreement. The Proposed Order modifies the timing of payments to the Other

Stakeholder Creditors in at least two critical ways.

         30.      First, under the Proposed Order, the Debtors shall reserve cash coming into the

estates in an amount equal to “the sum of (i) the amount of (a) anticipated cash disbursements,

and (b) projected Professionals’ fees and expenses, each set forth in the Budget for that Budget

Period, inclusive of an additional twenty-five percent (25%) variance cushion, (ii) all unpaid

amounts set forth in the Budget for prior Budget Periods, subject to adjustment up or down to

account for any Permitted Variance, (iii) $500,000, and (iv) the Indemnification Reserve (as

defined herein) (the ‘Restructuring Operating Reserve Cap’).” Proposed Order,         9(a). Under

the Initial Budget, the Restructuring Operating Reserve Cap would total almost $24 million.



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Under the Proposed Order, only cash in excess of this Restructuring Operating Reserve Cap

would be paid to the Other Stakeholder Creditors pursuant to the waterfall in the Indentures. In

other words, under the Proposed Order, approximately $24 million in cash that would otherwise

be paid to the Other Stakeholder Creditors pursuant to the waterfall in the Indentures to reduce

the Paid in Full amount, will be set aside. This payment structure is not provided for under the

Indentures and was not contemplated when the Settlement Agreement was entered into. In fact,

the Settlement Agreement contemplates working with U.S. Bank, as indenture trustee, “to satisfy

the requirements of the indentures with respect to the implementation of this Agreement.”

Settlement Agreement, ^ 28 (emphasis added).®

         31.     Second, the Proposed Order contemplates funding a $ 1.5 million cash reserve to

satisfy the indemnification claims that the Debtors’ Independent Director, CRO, and Chief

Monetization Officer (the “CMO”) may have against the Debtors’ estates (the “Indemnification

Reserve”). Proposed Order, T[ 9(c). Under the Proposed Order, the Indemnification Reserve may

be increased with either the consent of the Other Stakeholder Creditors or approval by this Court.

Notwithstanding their status as secured creditors and the parties that would be most impacted by

an increase of this reserve, the Proposed Order denies the Patriarch Secured Parties any rights

with respect to a proposed increase in the Indemnification Reserve. Further, the Indemnification

Reserve was not provided for in the retention agreements for the Independent Director, CMO, or

CRO, notwithstanding the substantial negotiations over those agreements. See D.I. 297, 298,

345. As a result of this Indemnification Reserve, at least $1.5 million (and potentially more) that


 ® Further, during the delay in reaching entry of a cash collateral order, the Debtors have not made any principal or
   interest payments to MBIA at Zohar II or to the Zohar III Controlling Class, resulting in delayed satisfaction of
   the Paid in Full amounts under the Settlement Agreement, and increasing the accrual of interest. Patriarch
   reserves all rights with respect to whether any claim on account of such increased interest should be included in
   any Paid in Full amount or allowed claim.



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would otherwise be paid to the Other Stakeholder Creditors to reduce their Paid in Full amounts

will sit dormant at the expense of Patriarch’s rights under the Settlement Agreement.

         32.      Accordingly, as drafted, the Proposed Order could materially affect the ability to

satisfy the Paid in Full amounts under the Settlement Agreement. As a result, to the extent the

Court is to approve a cash collateral order that includes the Restructuring Operating Reserve Cap

or the Indemnification Reserve, any cash held in such reserves should be applied to the Paid in

Full amounts for purposes of determining whether 50% of the Paid in Full amounts has been

satisfied in order to extend the 15 Month Window an additional three months. In the absence of

such relief. Patriarch could be deprived of the benefits of the Settlement Agreement even if the

Portfolio Companies are successfully monetized in amounts that otherwise would satisfy the

MBIA/ZIII Creditors’ milestones under the terms of the settlement.

                  3.     The Proposed Order Impermissibly Expands the Other Stakeholder
                         Creditors’ Right to Portfolio Company and Monetization Process
                         Information Beyond the Terms of the Settlement Agreement.

         33.     Under the Settlement Agreement, the parties agreed to the formation of a

Committee “to oversee and monitor the Zohar bankruptcy” for the benefit of the MBIA/ZIII

Creditors. Settlement Agreement, H 15. The parties agreed that the “CRO shall provide the

Committee members with all information necessary to assess and represent the interests of the

Other Stakeholders other than information whose distribution is reasonably limited at the request

of investment bankers or potential buyers.” Id. Further, only one of the MBIA/ZIII Creditors—

MBIA—negotiated for a right to receive Portfolio Company information, but any such right had

very specific restrictions:

                  The Group A Portfolio Companies shall share with employees of MBIA
                  (who sign NBAs as described in Paragraph 15 herein) financial statements
                  and backup reasonably requested in writing by MBIA. Any information
                  provided to MBIA shall only be shared win the following way: someone


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                   employed by MBIA can view the documents in the New York offices of
                   Gibson Dunn but may not take copies or pictures of any documents or
                   share any information in those documents, except with the CRO.

Settlement Agreement, ^ 21.

         34.      Notwithstanding the agreements with respect to flow of information in the

Settlement Agreement, the MBIA/ZIII Creditors are now seeking expanded information under

the Proposed Order that is not provided under the Settlement Agreement. First, although MBIA

threatened to blow up the Settlement Agreement without getting this right to information, they

have not made a single request in the six months since the entry of the Settlement Order for

information from the Portfolio Companies pursuant to paragraph 21 of the Settlement

Agreement. Second, although the MBIA/ZIII Creditors required the Debtors and Patriarch to

bear the time and expense of mediating and then litigating the form of a non-disclosure

agreement (an “NDA”) for the Committee, they have slow-played completing that NDA, thereby

preventing the Committee’s formation and its receipt of information. Following this Court’s

confidential hearing on the form of Committee NDA on September 4, 2018, Patriarch circulated

a revised form of NDA to the Debtors and the MBIA/ZIII Creditors on September 5. The

MBIA/ZIII Creditors took a month to provide comments to that form.'”

         35.      MBIA’s failure to exercise their rights under paragraph 21 of the Settlement

Agreement to review Portfolio Company information, as well as the delay in finalizing the NDA

for the Committee to be formed, appears to be a calculated tactic to bypass the bargained-for

provisions of the Settlement Agreement, and instead to attempt to expand their access to

Portfolio Company and monetization process information through the Proposed Order. Under

    On October 19, 2018, the Debtors circulated a proposed form of NDA that the MBIA/ZIII Creditors have
    agreed to. This NDA does not accurately reflect this Court’s prior rulings or the Settlement Agreement. If the
    parties are unable to resolve their disputes, then competing forms of order may need to be provided to this Court
    for further discussion.



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the Proposed Order, the Other Stakeholder Creditors are seeking, among other things, (a) weekly

“reports with respect to the progress and status of the Monetization Process,” (b) bi-weekly

“statement[s] of cash balances, cash receipts and cash disbursements,” without clarification as to

whether these are limited to the Debtors, and (c) weekly conference calls regarding the

“Monetization Process . . . and any material developments relating to the collateral being

monetized or the Monetization Process.” Proposed Order,                  12(d)(l)-(2).

         36.      Patriarch does not oppose the Other Stakeholder Creditors receiving reporting at

the Debtor level in order to protect their interests. This is consistent with the Other Stakeholder

Creditors’ rights under the Indentures, which restricted their reporting rights to the Debtor (not

the Portfolio Company) level. Indentures, § 7.9. However, Patriarch specifically negotiated in

the Settlement Agreement to restrict the MBIA/ZIII Creditors’ right to access Portfolio Company

information due to substantial concerns regarding certain MBIA/ZIII Creditors’ misuse of

confidential Portfolio Company prior to the Petition Date." The reporting provisions in the

Proposed Order expand the Indentures and the Settlement Agreement by providing the

MBIA/ZIII Creditors with direct access to information involving the Portfolio Companies and

the monetization process. Appropriate portions of such information should be provided to the

Committee, subject to the limitations in the Settlement Agreement and the NDA (once entered

into), but the cash collateral order cannot be used to grant the MBIA/ZIII Parties with similar

information the parties negotiated to be provided only to the Committee under the Settlement

Agreement.




 '' Patriarch provided examples of such misuse in its confidential submission to chambers, dated as of August 30,
    2018. Patriarch reserves the right to provide evidence of such misuse at the hearing on the Motion on
    November 13.



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         B.       The Proposed Order Impermissibly Denies Adequate Protection to the
                  Patriarch Secured Parties While Providing the Other Stakeholder Creditors
                  with Unnecessary and Excessive Adequate Protection Rights.

         37.      Section 363(c)(2) of the Bankruptcy Code prevents a debtor in possession from

using cash collateral unless (i) the entity that asserts an interest in such cash collateral consents,

or (ii) a bankruptcy court authorizes such use after notice and a hearing. This provision works in

tandem with section 363(e), which provides that “on request of an entity that has an interest in

property used, sold, or leased, or proposed to be used, sold, or leased, by the trustee, the court...

shall prohibit or condition such use, sale, or lease as is necessary to provide adequate protection

of such interest.” As a result of these provisions, courts typically authorize a debtor in

possession to use cash collateral to continue their operations during a bankruptcy case so long as

the interests asserted by creditor in such collateral are adequately protected.

         38.      “The burden of proof is on the debtor to demonstrate that the secured creditor is

adequately protected for purposes of using its cash collateral.” In re Hari Ram, Inc., 507 B.R.

114, 120 (Bankr. M.D. Pa. 2014) (citing Resolution Trust Corp. v. SwedelandDev. Grp., Corp.

(In re Swedeland Dev. Grp., Inc.), 16 F.3d 552, 564 (3d Cir. 1994)); accord In re Pursuit

Athletic Footwear, Inc., 193 B.R. 713, 716 (Bankr. D. Del. 1996). Whether a party has been

afforded adequate protection is generally determined on a case-by-case basis. E.g., In re

Swedeland Dev. Grp., Inc., 16 F.3d at 564. The Bankruptcy Code provides some guidance in

determining whether a secured creditor or interest holder has been provided adequate protection.

See 11 U.S.C. § 361. Section 361 of the Bankruptcy Code provides that adequate protection may

be provided in the form of (1) “a cash payment or periodic cash payments,” (2) “an additional or

replacement lien,” or (3) “such other relief as will result in the realization by [the grantee] of the

indubitable equivalent of such entity’s request in such property.”



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         39.      While courts vary in what form of adequate protection is sufficient, they

consistently hold that ‘“adequate protection’ is meant only to assure that a secured creditor does

not suffer a decline in the value of its interest in the estate’s property, rather than to compensate

the creditor for the bankruptcy-imposed delay in enforcing its rights in that property.” First Lien

Indenture Trustee v. Wilmington Trust, N.A. (In re Energy Future Holdings Corp.), 546 B.R.

566, 581 (Bankr. Del. 2016) (quoting/n re Addison Props. Ltd. P’ship, 185 B.R. 766, 769-70

(Bankr. N.D. Ill. 1995)); In re WorldCom., Inc., 304 B.R. 611, 618-19 (Bankr. S.D.N.Y. 2004);

In re Pine Lake Fill. Apartment Co., 19 B.R. 819, 824 (Bankr. S.D.N.Y. 1982) (“Neither the

legislative history nor the [Bankruptcy] Code indicate that Congress intended the concept of

adequate protection to go beyond the scope of protecting the secured claim holder from a

diminution in the value of the collateral securing the debt.”). A sale or use of estate assets that

may violate a lender’s loan documents with a debtor does not entitle such lender to adequate

protection. In re Shubh Hotels Pitt., LLC, 439 B.R. 637, 645-46 (Bankr. W.D. Penn. 2010)

(finding that although a debtor’s proposal to enter into a franchise agreement to brand its hotel

without the lender’s consent violated that lender’s loan documents, this did not trigger any

entitlement to adequate protection).

         40.      Here, the Debtors fail to satisfy their burden of proof that the Proposed Order

provides adequate protection for the Patriarch Secured Parties’ interests. In fact, the Motion does

not even reference such secured interests, and the Proposed Order wholly excludes the Patriarch

Secured Parties, and does not grant them any rights to protect or preserve their interests during

these Chapter 11 cases. For example, notwithstanding the Patriarch Secured Parties’ substantial

secured claims against the Debtors’ estates, the Proposed Order, among other things:

(a) precludes the Patriarch Secured Parties from reviewing or commenting on (i) modifications to



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the Budget, see Proposed Order,        8, (ii) the reasonableness of professional fees to be paid to the

Other Stakeholder Creditors during these Chapter 11 cases, see id. at *[| 12(c); (b) does not

provide the Patriarch Secured Parties any rights in the event of termination events under the

order,      id. at      17, 18; and (c) does not provide the Patriarch Secured Parties even

rudimentary adequate protection rights, such as payment of postpetition interest, attorneys’ fees,

reporting, or the granting of adequate protection claims and liens, see id. at       11, 12(a)-(d).

Further, the Proposed Order provides the Other Stakeholder Creditors with adequate protection

that is excessive under the facts of these Chapter 11 cases. Such excessive and unnecessary

rights are not surprising in light of the Debtors’ need for use of cash collateral, and the

intentional exclusion of Patriarch—^who is the primary party affected by the Other Stakeholder

Creditors’ excessive demands—from negotiations over the cash collateral order. In short, the

Proposed Order wholly ignores the valid claims and interests of the Patriarch Secured Parties,

while granting the Other Stakeholder Creditors rights that are not necessary. Such relief is not

appropriate or permitted under Bankruptcy Code sections 361 or 363(c)(2).

                  1.       The Patriarch Secured Parties Are Substantial Secured Creditors In These
                           Cases and Are Entitled to Adequate Protection.

         41.      The Patriarch Secured Parties’ liens against the collateral are not junior, but even

junior secured lenders are generally entitled to adequate protection of their interests under

Bankruptcy Code section 363(c)(2), even if they are payment-subordinated or lien-subordinated

(which is not the case here) to a senior secured lender. E.g.,In re James Wilson Assocs., 965

F.2d 160, 171 (7th Cir. 1992) (affirming bankruptcy court order overruling senior secure lender’s

objection to diversion of cash collateral to pay attorneys’ fees of junior secured creditor).

Indeed, cash collateral orders in Delaware bankruptcy courts routinely include provisions for

adequate protection of junior secured creditors in the form of, inter alia, periodic cash payments.


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replacement liens, attorneys’ fees, and administrative priority claims. See, e.g., In re Gen.

Wireless Operations Inc., 2017 WL 5462990, at *12 (Bankr. D. Del. Apr. 11, 2017) (cash

collateral order granting adequate protection to junior lienholders in the form of, inter alia,

weekly mandatory payments, and subjecting revisions of the cash collateral budget to the written

consent of the junior lien agent); In re Marsh Supermarkets Holding, LLC, 2017 WL 5463219, at

*1 (Bankr. D. Del. July 19, 2017) (cash collateral order providing that a certain junior secured

noteholder is entitled to adequate protection in the form of replacement liens); In re Nuverra

Envtl. Sols., Inc., 2017 WL 5483147, at *21 (Bankr. D. Del. June 6, 2017) (DIP and cash

collateral order granting second lien lenders adequate protection in the form of attorneys’ fees

and superpriority claims).

         42.      In fact. Judge Posner could not have been more clear that a junior secured lender

is entitled to adequate protection payments in a bankruptcy case, when he reasoned and held as

follows:

                  But is it permissible to bite into [a senior secured lender’s liens] in order to
                  pay attorney's fees and to protect the interest of another, but junior,
                  secured creditor? We think so, given the oversecured character of
                  Metropolitan's claim. A security interest is—a security interest. It is not a
                  fee simple. ... It has no right to fence off the entire collateral in which it
                  has an interest so that no other creditor can get at it. Its only entitlement is
                  to the adequate protection of its interest.

In re James Wilson Assocs., 965 F.2d at 171.

         43.      Here, the Patriarch Secured Parties hold over $822 million in secured notes issued

by the Debtors. This includes over $286 million in Class A-3 Notes issued by Zohar I, plus

accruing interest. As a result of MBIA’s foreclosure and credit bid, these Class A-3 Notes are

the senior notes issued by Zohar I (or in a worst case subject only to approximately $10 million

of senior claims). Further, the Patriarch Secured Parties hold $536 million in Class B Notes



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among the Zohar Funds. The Patriarch Secured Parties are entitled to payment of their attorneys’

fees in connection with the “costs and expenses of collection” under both the Class A-3 Notes

and the Class B Notes. Indentures, § 5.3. The Patriarch Secured Parties’ Class B Notes are

waterfall-payment subordinated to the Class A Notes and MBIA’s Credit Enhancement

Liabilities. Indentures, § 13.1(a), (c). However, the Class B Notes and the Class A Notes are

secured by the same collateral, and have equal lien priority. Indentures, p. 2 (“Such Grants . . .

secure ... the Notes equally and ratably without prejudice, priority, or distinction between any

Note and any other Note by reason of difference in time of issuance or otherwise, except as

expressly provided in this Indenture . . . .”) (emphasis added).'- The Patriarch Secured Parties’

substantial interests in the Debtors and their cash collateral are entitled to adequate protection.

         44.      As explained below, infra Section B.2.a, MBIA has admitted that the Class A

Notes in these Chapter 11 cases are substantially overcollateralized. As a result, the Patriarch

Secured Parties are entitled to adequate proteetion of their interests.




    The Patriarch Secured Parties understand that the Other Stakeholder Creditors assert that the liens securing the
    Class B Notes are junior to the liens securing the Class A Notes and Credit Enhancement Liabilities due to
    Section 13.1 of the Indentures. This is incorrect under the plain language of the Indentures. The language at
    issue provides:
         Anything in this Indenture or the Notes to the contrary notwithstanding, the Issuer, the Holders of the Class
         B Notes and the Holders of the Class C Notes agree for the benefit of the Holders of the Class A Notes and
         the Creditor Enhancer that the Class B Notes, the Class C Notes and the Issuer’s rights in and to the
         Collateral (collectively, the “Subordinate Interests”! shall be subordinate and junior to the Class A Notes,
         all Credit Enhancement Liabilities and all Credit Enhancement Premium (the “Senior Interests”) to the
         extent and in the manner setforth in this Indenture including, without limitation, as setforth in Sections
         11.1 and 11.2 and hereinafter provided.
    Indenture, § 13.1(a) (emphasis added). This language does not result in lien subordination. First, the language
    “rights in and to the Collateral” is limited to the “Issuer’s rights.” The lack of a possessive apostrophe in
    referring to the Class B Notes makes clear that while the Class B Notes, themselves, are subordinate, any
    “rights in and to the Collateral” is not. Second, the subordination is limited to the extent provided in the
    Indenture. Sections 11.1 and 11.2 provide the payment waterfall, but do not provide lien subordination. Nor
    does any other provision of the Indentures. As a result, the Class B Notes are not lien subordinated—they are
    only payment subordinated under the Indentures’ waterfall.



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         45.      The Proposed Order’s punitive omission of the Patriarch Secured Parties violates

Bankruptcy Code sections 361 and 363(c)(2). The Patriarch Secured Parties and the MBIA/ZIII

Creditors have equal priority liens against the Debtors’ assets, including cash collateral. While

the Patriarch Secured Parties are subordinate in payment rights under the Indentures’ waterfalls

to the MBIA/ZIII Creditors, this should not diminish their statutory right to adequate protection

of their interests during these Chapter 11 cases. See Matter ofJames Wilson Assocs., 965 F.2d at

171. The Other Stakeholder Creditors’ attempt to exclude the Patriarch Secured Parties from the

cash collateral order is just a further attempt to disenfranchise Patriarch’s rights in these cases,

and the Court should not sanction such tactics.

                  2.     The Adequate Protection Proposed for the Other Stakeholder Creditors is
                         Excessive and Unnecessary.

         46.      Exclusive of the substantial adequate protection package included in the Proposed

Order, the Other Stakeholder Creditors already benefit from significant protections against a

“decline in the value of their interest in the estate’s property . . . .” In re Energy Future Holdings

Corp., 546 B.R. at 581. Substantial evidence demonstrates that the Other Stakeholder Creditors

are substantially oversecured, and, as such, are adequately protected by an “equity cushion” in

their collateral. It is well recognized that a secured creditor’s equity cushion in its collateral,

alone, can serve as adequate protection. E.g.,In re Shaw Indus., Inc., 300 B.R. 861, 865 (Bankr.

W.D. Pa. 2003) (“The existence of an equity cushion alone can constitute adequate protection.”);

In re Mellor, 734 F.2d 1396, 1400 (9th Cir. 1984); In re Lafayette Hotel P ’Ship, 227 B.R. 445,

453 (S.D.N.Y. 1998); accord 3 Collier on Bankruptcy 363.05[3] (16th ed. 2016) (“While cases

are varied, substitute liens, equity cushions and operating controls have all been found

sufficient.”).




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         47.      These Chapter 11 cases will have been pending for over seven months when the

Court finally considers approval of the Proposed Order. During that time, the record does not

demonstrate any diminution of the value of their interests in these Chapter 11 cases, undermining

the Other Stakeholders’ right to any form of adequate protection. Notwithstanding that fact, for

the reasons explained below, certain provisions of the Proposed Order’s adequate protection

package are excessive, particularly in light of the Other Stakeholder Creditors’ equity cushion,

and must be paired back so as to not prejudice other parties in interest in these Chapter 11 cases.

                         a)       The Other Stakeholder Creditors Are Protected by a Substantial
                                  Equity Cushion.

         48.      Undisputed evidence introduced in the Delaware 225 Action from multiple

sources over the past several years all reached the same conclusion—namely, that the preference

shares, payable only after noteholders, are “in the money.” Neither AMZM, while collateral

manager for the Zohar Funds, nor the Other Stakeholder Creditors have ever disputed these

valuations on their merits, and they do not appear to dispute that value here. Moreover, MBIA

has admitted in public filings that the Portfolio Companies are worth far more than what is owed

to MBIA and other Zohar Fund creditors. See, e.g., Neumeister Declaration, Ex. 6 (MBIA Inc.

Form lO-K for the fiscal year ended December 31, 2017) at p. 22 (“MBIA Insurance Corporation

believes there will be sufficient recoveries on the Zohar Collateral to both repay amounts due

under the Facility and to substantially reimburse it for the Zohar Claims Payments,. . . [but]

there can be no assurance . . .


    See also, e.g., Neumeister Declaration, Ex. 3 (MBIA Form 8-K, Jan. 10, 2017) at p. 4; Ex. 5 (MBIA Form 10-Q,
    Aug. 8, 2016) at p. 57 (“MBIA Corp. believes that the primary source of such reimbursement [for insurance
    payment made with regard to Zohar II notes] will come from liquidation of the Zohar II Collateral.”); Ex. 4
    (MBIA Form 8-K, Nov. 28, 2016) at pp. 10-21 (attaching Houlihan Lokey presentation concluding that the
    value ofjust the top 11 portfolio companies would provide “sufficient asset coverage” to MBIA); Ex. 7 (225
    Avitabile Dep.) at 54:13-56:13, 96:12-98:22 (admitting that MBIA has used the PJT Partners analyses to
    “estimate potential recovery values” for MBIA’s financial statements). Only relevant excerpts of the cited
                                                                                         (Cotit’d on next page)

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          50.       Based on the foregoing, the Other Stakeholder Creditors are adequately protected

by a substantial “equity cushion” in their collateral. They are therefore not entitled to the

substantial additional adequate protection provided under the Proposed Order.

                                b)    The Proposed Order and Budget Reward and Encourage Over-
                                      Spending of Attorneys’ Fees By the Other Stakeholder Creditors.

          51.       The Proposed Order, as currently structured, permits and, in fact, encourages the

Other Stakeholder Creditors to deteriorate the value that may be paid to the Patriarch



(Cont’dfrom previous page)
      public MBIA 10-K and 10-Q filings with the SEC are being submitted so as not to burden the Court with
      voluminous public filings. The full versions of all cited public filings with the SEC are available at sec.gov.
      See McKieman Dep., p. 135:19-136:4.
      W. at p. 61:19-62:24.
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      See id. at p. 60:16-22.



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Stakeholders, and impair the ability to satisfy the Paid in Full amounts under the timeline

contemplated by the Settlement Agreement, through payment of their inflated and unnecessary

professional fees. Specifically, under the Proposed Order and Initial Budget:

         •     The Other Stakeholder Creditors are entitled to payment of pre-petition and post­
               petition professional fees without any limitation or cap as to amount. Proposed
               Order,     8, 12(c).

         •     The Initial Budget provides for payments to the Other Stakeholder Creditors on
               account of attorneys’ fees incurred through June 30, 2018 totaling almost $7.5
               million. This is 2.5 times the amount of attorneys’ fees incurred by the Debtors’
               professionals for that same period. Further, the Other Stakeholder Creditors’
               monthly budgeted attorneys’ fees range between $665,000 and $690,000. As a result,
               at all times under the Initial Budget, the Other Stakeholder Creditors’ monthly
               budgeted attorneys’ fees exceed the attorneys’ fees budgetedfor the Debtors. The
               Debtors’ budgeted attorneys’ fees were only later increased in separate interim
               budgets.’’

         •     The Proposed Order excludes the Patriarch Secured Parties, the parties in interest that
               would be most affected by excessive legal fees in these cases, from having the right to
               review and object to the Other Stakeholder Creditors’ monthly invoices. Proposed
               Order, 12(c).

This proposed treatment is far in excess of what is required to provide the Other Stakeholder

Creditors with adequate protection under the Bankruptcy Code for multiple reasons.

         52.      First, in the absence of equal treatment among all secured creditors (including

payment of the Patriarch Secured Parties’ professional fees), this case is the rare exception where

attorneys’ fees are not necessary to provide adequate protection to the Other Stakeholder

Creditors. In connection with the Settlement Agreement, the Other Stakeholder Creditors

negotiated for the formation of the Committee to represent their interests, with the Committee’s

fees and expenses paid from the Debtors’ estates. Settlement Agreement, ][ 15. The Committee



 ” D.I. 382, 432.469. The Patriarch Secured Parties have been excluded from further negotiations over the
   Debtors’ budget, so do not know whether the Other Stakeholders’ fees to have been similarly increased or
   decreased.



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is intended to act as the primary body working with the Debtors to ensure the Other Stakeholder

Creditors’ interests are protected during these Chapter 11 cases. Formation of a committee,

whose fees and expenses are paid from the estate, to represent the interests of secured creditors is

very atypical in any district. However, the existence of such a committee vitiates the need for a

secured creditor to incur or be paid significant legal fees in connection with the bankruptcy case.

At a minimum, such fees should be substantially curtailed.

         53.      Second, the budgeted amount of attorneys’ fees for the Other Stakeholder

Creditors rewards them for their excessive litigation tactics at the outset of these Chapter 11

cases, and incentivizes them to continue to over-lawyer these cases to the detriment of all other

stakeholders. On March 28, 2018, in response to sixteen pleadings and declarations filed by the

Other Stakeholder Creditors in two days, largely duplicative of one another, this Court warned

counsel that “we’re not going to have a litigation orgy.”'** Now, under the auspices of adequate

protection, the Other Stakeholder Creditors are seeking to have the Debtors pay for such

behavior, with the bill for the Other Stakeholder Creditors’ legal fees totaling almost $7.5 million

through June 30, 2018. This amount grossly exceeds the Debtors’ legal fees for the same period,

which total less than $3 million. This treatment is excessive, and not consistent with the purpose

of adequate protection under Bankruptcy Code section 363(c)(2). Further, it will delay the

ability to satisfy the Paid in Full amounts under the Settlement Agreement.

         54.      Third, the go-forward budgeted attorneys’ fees for the Other Stakeholder

Creditors are excessive when compared to the estate’s own professional fees, and in light of their

limited role in these Chapter 11 cases. Under the Initial Budget, the Other Stakeholder

Creditors’ monthly budgeted attorneys’ fees range between $665,000 and $690,000. This is


    Hr’gTr. 3/28/18, p. 22:15-19.



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greater than the $650,000 budgeted for the Debtors’ counsel in the Initial Budget.'^ The

Settlement Agreement provided a structure where independent third parties would be put in place

as the estate fiduciaries, and all litigation would be stayed. There is simply no legitimate reason

for the Other Stakeholder Creditors to be incurring the legal fees budgeted for them. In fact,

MBIA’s counsel has itself made this clear.




                                          I. The professional fees contemplated under the Initial

Budget are excessive, and must be substantially reduced to reflect the realities of these cases, and

the minimal legitimate legal work required by the Other Stakeholder Creditors.

         55.      Finally, the Proposed Order impermissibly excludes the Patriarch Secured Parties

from the list of persons or entities that have the right to review and object to the Other

Stakeholder Creditors’ monthly invoices. In fact, with the exception of a footnote defining the

Settlement Agreement, the Proposed Order does not even mention Patriarch. The Patriarch

Secured Parties are the stakeholders that are most affected by the administrative bum of these

cases. Excessive fees will, among other things, (a) delay satisfaction of the Paid in Full amount

under the Settlement Agreement, and (b) diminish proceeds that would otherwise be paid to

Patriarch under the Patriarch Secured Claims or their preference shares. Accordingly, the

Patriarch Secured Parties should have the right to review and object to any unreasonable fees and

expenses. See, e.g.,In re Hale-Halsell Co., 391 B.R. 459, 469 (Bankr. N.D. Okla. 2008)


    See supra'Hoie. \1.



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(“Bankruptcy is designed to be a transparent proeess, where creditors and the publie can easily

view and understand what is going on in any particular case. Fee arrangements between

professionals and a bankruptcy estate are to be equally transparent.”).

         56.      In short, if the Other Stakeholder Creditors are entitled to payment of legal fees at

all, the Proposed Order and the Initial Budget must be revised so as to not encourage reckless

incurrence of legal fees by the Other Stakeholder Creditors.

                  3.     The Other Stakeholder Creditors Should Not Receive Weekly Reporting.

         57.      Under the Proposed Order, the Debtors are required to, (i) on a weekly basis,

(a) provide the Other Stakeholder Creditors with status reports on the monetization process, and

(b) host weekly eonference ealls regarding the monetization process and the Debtors’ financial

performance and information provided in the debtors’ ongoing reports, and (ii) on a bi-weekly

basis, (a) provide a “statement of cash balances, eash reeeipts and cash disbursements,” and (b) a

report of varianees against the budget (collectively, the “Proposed Reporting”). See Proposed

Order, TJ 12(d). All such reports and calls would be reviewed or attended by three different

ereditor constitueneies (in addition to the Committee) and their professionals. This is grossly

exeessive in light of the nature of the Debtors’ business and the bargained-for proteetions under

the Settlement Agreement.

         58.      First, the Debtors are not operating companies. Their sole souree of income is

proceeds from the loans made by the Zohar Funds to the Portfolio Companies, and eventually

from the monetization of the Debtors’ interests in the Portfolio Companies. Weekly calls and bi­

weekly reporting on receipts, disbursements, and varianees is simply unneeessary for the Other

Stakeholder Creditors to ensure the preservation of their interests in the Debtors, and will serve

only to unnecessarily inflate the administrative eosts of these Chapter 11 cases.



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         59.      Second, although Patriarch is hopeful that the monetization process will soon bear

fruit and result in cash proceeds to pay down the claims of the MBIA/ZIII Creditors, the process

will inherently be deliberate and by agreement span up to fifteen to eighteen months. As a result,

the Proposed Order builds in reporting obligations that will unnecessarily drive up the

administrative costs of these cases.

         60.      Third, to the extent there is consistent reporting, it should be made to the

Commiftee, not the three different constituencies consisting of the Other Stakeholder Creditors.

The Committee was agreed to and will be formed for the purpose of “oversee[ing] and

monitor[ing] the Zohar bankruptcy.” Settlement Agreement, H 15. In fact, under the Settlement

Agreement, “[t]he CRO shall provide the Committee members with all information necessary to

assess and represent the interests of the Other Stakeholders . . . .” Id. Insisting through the

Proposed Order that the Debtors provide frequent reporting to the Other Stakeholder Creditors is

inconsistent with and contradicts the bargain agreed to in the Settlement Agreement that such

reporting would be provided to the Committee, acting for the benefit of the MBIA/ZIII Creditors.

The administrative bum required by the Proposed Order for (a) the Debtors to provide the

contemplated reporting, and (b) for the Other Stakeholder Creditors and their advisors to review

and comment on such reporting, will be excessive. The Other Stakeholder Creditors will not be

actively involved in the monetization process, and insisting on excessive reporting requirements

will only benefit the Other Stakeholder Creditors’ professionals, to the detriment of all other

parties in interest.

         61.       In short. Proposed Reporting is inconsistent with the realities of these Chapter 11

cases and with the Settlement Agreement, and is urmecessary for the Other Stakeholder Creditors

to ensure adequate protection against the diminution in value of their interests in the Debtors.



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                  4.     The Other Stakeholder Creditors Are Not Entitled to Veto Rights over
                         Settlements and Compromises.

         62.      The Proposed Order provides as follows:

                  No Debtor shall attempt to or otherwise compromise, release, or transfer
                  any cause of action without the consent of the Controlling Secured
                  Parties and the Indenture Trustee (except as to MBIA in the case of
                  Zohar I) or an order of the Bankruptcy Court; and any purported
                  compromise, release, or transfer of any cause of action by and Debtor
                  which does not comply with the foregoing is void ab initio.

Proposed Order, ^ 14 (emphasis added). The Patriarch Secured Parties have no problem with

settlements being subject to this Court’s approval. However, the Other Stakeholder Creditors

should not be entitled to a blocking position on the Debtors’ “attempt[s]” to settle or compromise

claim or causes of action, which would effectively hamstring the Debtors’ ability to reach

concessions in these Chapter 11 cases without the Other Stakeholder Creditors’ pre-approval.

                  5.     Any Adequate Protection Payments Should Be Limited to the Extent the
                         MBIA/ZIII Creditors Are Found to be Oversecured.

         63.     Patriarch is confident that the monetization process, if permitted to proceed

pursuant to the Settlement Agreement, will provide sufficient proceeds to pay the MBIA/ZIII

Creditors in full, with distributions to Patriarch on account of the Class B Notes and preference

shares. If that is the case, then pursuant to Bankruptcy Code section 506(b), the MBIA/ZIII

Creditors may be entitled to interest and “reasonable fees, costs or charges” on their secured

claim. However, in the event these Chapter 11 cases do not provide sufficient assets to satisfy

the MBIA/ZIII Creditors’ claims in full, then any adequate protection payments paid during the




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pendency of these Chapter 11 cases should be applied to principal. This is a routine provision in

this jurisdiction.-®

         C.       The Court Should Condition Any Surcharge or Equities of the Case Waivers
                  on Preserving Parties’ Rights Regarding the Allocation of Certain Fees and
                  Expenses Incurred as a Result of the Settlement Agreement.

         64.      In negotiating the Settlement Agreement, the MBIA/ZIII Creditors negotiated for

a number of provisions that they viewed as necessary to preserve the value of their interests in

the Debtors, while the Debtors and the Portfolio Companies meanwhile engage in a joint effort to

monetize the Portfolio Companies. Specifically, the MBIA/ZIII Creditors required the Debtors

to appoint (a) the Independent Director, (b) a replacement CRO and supporting temporary staff

with FTI Consulting Inc. ('“FTI”'). and (c) the New Agent for the Debtors’ loans to the Portfolio

Companies. All of these additional professionals result in substantial additional cost to the

Debtors’ estates, which, as the holder of the Class B Notes and the Zohar Funds’ preference

shares, in the absence of an order of this Court, may ultimately be borne by Patriarch. However,

given that these expenses are being incurred at the sole request and for the sole benefit of the

MBIA/ZIII Creditors, Patriarch should be permitted to seek allocation of such expenses to reduce

the allowed amounts of the MBIA/ZIII Creditors’ secured claims, and such right should be

preserved pending completion of the monetization process and during the stay contemplated

under the Settlement Agreement. This Court held as such with respect to the Independent

Director’s Incentive Fee. See Hr’g Tr. 6/20/18, p. 29:4-6 (“On the escrow/allocation dispute I’m

ok with the simply reservation of rights. There is a mechanism for working this out. It’s through

the settlement itself”).


    See, e.g.. In re Remington Outdoor Company, Inc., Case No. 18-10684, Docket No. 177, 20(i) (Bankr. D. Del.
    Apr. 16, 2018); In re Mac Acquisition LLC, Case No. 17-12224, Docket No. 179, H 16(c) (Bankr. D. Del. Nov.
    13,2017).



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         65.      The MBWZIII Creditors through the Proposed Order are seeking to undereut the

reservation of rights ordered by this Court with respect to the Independent Director’s Incentive

Fee, and further predetermine who shall bear costs and expenses that are being borne solely for

the benefit of and at the request of the MBIA/ZIII Creditors. The MBIA/ZIII Creditors are

attempting do so through waivers of the estate’s right to surcharge the MBIA/ZIII Creditors’

collateral under Bankruptcy Code section 506(c) and of the “equities of the case” exception

under Bankruptcy Code section 552(b). See Proposed Order,           21, 23. No such relief is

warranted here.

         66.      The Third Circuit has recognized that the equities of the case exception under

section 552(b) “is normally relevant in Chapter 11 ... to prevent a secured creditor from reaping

benefits from collateral that has appreciated in value as a result of the trustee’s/debtor-in-

possession’s use of other assets of the estate.” In re Tower Air, Inc., 397 F.3d 191 (3d Cir.

2005). Similarly, Judge Walrath recently recognized that “[t]he purpose behind the ‘equities of

the case’ rule ... is, in a proper case, to enable those who contribute to the production of

proceeds during chapter 11 to share jointly with pre-petition creditors secured by proceeds."

In re Muma Serv, Inc., 322 B.R. 541, 558 (Bankr. D. Del. 2005) (quoting In re Crouch, 51 B.R.

331, 332 (Bankr. D. Or. 1985)) (emphasis added). Further, at least one court has expressly

refused to prospectively waive the equities of the case doctrine through a cash collateral order.

In re Metaldyne Corp., 2009 WL 2883045, at *6 (Bankr. D. Del. June 23, 2009).

         67.      Similarly, Bankruptcy Code section 506(c) authorizes a debtor’s estate to seek to

surcharge a secured creditor’s collateral to satisfy the costs associated with “preserving ... or

disposing” a secured creditor’s collateral. “[S]ection 506(c) is designed to prevent a windfall to




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the secured creditor . . .    Precision Steel Shearing v. Fremont Fin. Corp. (In re Visual Indus.,

Inc.), 57 F.3d 321, 325 (3d Cir. 1995).

         68.      Patriarch is not asking the Court to determine now whether certain fees and

expenses should be sureharged against the MBIA/ZIII Creditors’ collateral, or whether such fees

and expenses should be borne by the MBIA/ZIII Creditors under the “equities of the case” rule

under Bankruptey Code seetion 552(b). Rather, as the Court already ruled with respect to the

Independent Director’s Incentive Fee, Patriarch requests that any disputes be fully preserved in

coimection with the entry of the cash collateral order. This reservation is particularly appropriate

where, as here, (a) the MBIA/ZIII Creditors are not advancing any new money into the Debtors’

estates, (b) the MBIA/ZIII Creditors are the only parties in interest that requested the installation

of the professionals that are incurring the subject costs, (c) the MBIA/ZIII Creditors’ interest are

adequately protected in the absence of any provisions waiving any party’s rights under seetions

506(e) or 552(b), and (d) the Debtors, Patriarch, and the Portfolio Companies—not the

MBIA/ZIII Creditors—are expending thousands of hours conducting a monetization process

designed to first pay the MBIA/ZIII Creditors’ allowed claims in lull.

         D.       Additional Objections

         69.      In addition to the principle issues raised above, Patriarch incorporates the

objections raised in the table attaehed hereto as Exhibit A. Patriarch has further prepared a

modified form of eash collateral order, attaehed hereto as Exhibit B, that appropriately balanees

the interests of the Debtors, the Other Stakeholder Creditors, and the Patriareh Secured Parties,

and comports with the terms and conditions of the Settlement Agreement. However, for the

convenience of the Court, Patriarch further raises the additional issues with respect to the

Proposed Order:



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         •     The Proposed Order contemplates payment of prepetition interest and attorneys’ fees.
               See Proposed Order, 12(a)-(c). No secured creditors should be getting paid
               prepetition interest, attorneys’ fees, or other amounts as adequate protection. See,
               e.g.. In re Duval Manor Assocs., 191 B.R. 622, 633 (Bankr. E.D. Pa. 1996) (“For
               purposes of adequate protection, the claim of the secured creditor is fixed as of the
               date of filing”). “‘[AJdequate protection’ is meant only to assure that a secured
               creditor does not suffer a decline in the value of its interest in the estate’s property,
               rather than to compensate the creditor for the bankruptcy-imposed delay in enforcing
               its rights in that property.” In re Energy Future Holdings Corp., 546 B.R. at 581.
               Payment of prepetition interest or attorneys’ fees is not consistent with this purpose.

         •     For the same reason that the Proposed Order’s stipulations and limitations on
               challenge rights violate the Settlement Agreement, see supra Paragraph A.l, the
               Proposed Order cannot approve any right to credit bid the Other Stakeholder
               Creditors’ claims while all potential claims and objections with respect to those
               claims are stayed. See Proposed Order, T[ 16. Further, the MBIA/ZIII Creditors have
               taken a broad interpretation of the extent of their collateral, and to the extent any
               proposed monetization transaction includes such collateral, pre-authorization for the
               Other Stakeholder Creditors to credit bid could chill the marketing process.

         •     Paragraph 28(a) of the Proposed Order seeks to give the Independent Director blanket
               authority to settle and satisfy prepetition claims against the Debtors. This appears
               primarily aimed at settling certain prepetition claims asserted by Blank Rome LLP
               t“Blank Rome”). Patriarch disputes the validity of Blank Rome’s claim. The
               Proposed Order should not curtail parties’ right to notice and a hearing before the
               estates can settle claims. See Fed. R. Bankr. P. 9019.

         70.      In the absence of the changes proposed by Patriarch, the Court should not enter

the Proposed Order.

                                             CONCLUSION

         WHEREFORE, Patriarch respectfully requests that this Court deny the Motion and not

enter the Proposed Order in its current form.




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Dated: October 30, 2018
                                     COLE SCHOTZ P.C.



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